Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 1 of 9 PageID #: 172




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

UNITED STATES OF AMERICA,

v.                                             Criminal Action No. 1:14-cr-78-5

CARAUN LYNN MONTEZ KEY,
      Defendant.

                   OPINION/ REPORT AND RECOMMENDATION
                  CONCERNING PLEA OF GUILTY IN FELONY CASE

       This matter has been referred to the undersigned Magistrate Judge by the District Court for

purposes of conducting proceedings pursuant to Federal Rule of Criminal Procedure 11. Defendant,

Caraun Lynn Montez Key, in person and by counsel, Ailynn Orteza, appeared before me on January

21, 2015. The Government appeared by Assistant United States Attorney Zelda Wesley. The Court

determined that Defendant was prepared to enter a plea of “Guilty” to Count Two of the Indictment.

       The Court proceeded with the Rule 11 proceeding by first placing Defendant under oath.

       The Court inquired of Defendant whether he was a citizen of the United States. Defendant

responded that he is a citizen. The undersigned asked Defendant whether he understood that if he

were not a citizen of the United States, by pleading guilty to a felony charge he would be subject to

deportation at the conclusion of any sentence; that he would be denied future entry into the United

States; and that he would be denied citizenship if he ever applied for it. Defendant stated that he

understood.

       The Court determined that Defendant’s plea was pursuant to a written plea agreement, and

asked the Government to tender the original to the Court. The Court asked counsel for the

Government if the agreement was the sole agreement offered to Defendant. The Government

responded that it was and counsel for Defendant confirmed the same. The Court asked counsel for

the Government to summarize the written plea agreement. Defendant stated that the agreement as
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 2 of 9 PageID #: 173




summarized by counsel for the Government was correct and complied with his understanding of the

agreement. The Court ORDERED the written plea agreement filed.

       The Court next inquired of Defendant concerning his understanding of his right to have an

Article III Judge hear the entry of his guilty plea and his understanding of the difference between an

Article III Judge and a Magistrate Judge. Defendant thereafter stated in open court that he

voluntarily waived his right to have an Article III Judge hear his plea and voluntarily consented to

the undersigned Magistrate Judge hearing his plea, and tendered to the Court a written Waiver of

Article III Judge and Consent To Enter Guilty Plea Before Magistrate Judge, which waiver and

consent was signed by Defendant and countersigned by Defendant’s counsel and was concurred in

by the signature of the Assistant United States Attorney appearing.

       Upon consideration of the sworn testimony of Defendant, as well as the representations of

his counsel and the representations of the Government, the Court finds that the oral and written

waiver of Article III Judge and consent to enter guilty plea before a Magistrate Judge was freely and

voluntarily given and the written waiver and consent was freely and voluntarily executed by

Defendant, Caraun Lynn Montez Key, only after having had his rights fully explained to him and

having a full understanding of those rights through consultation with his counsel, as well as through

questioning by the Court. The Court ORDERED the written Waiver and Consent to Enter Guilty

Plea before a Magistrate Judge filed and made part of the record.

       The undersigned then reviewed with Defendant Count Two of the Indictment and the

elements the Government would have to prove, charging him with aiding and abetting the possession

with intent to distribute oxycodone, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), and 18

U.S.C. § 2. The undersigned then reviewed with Defendant the statutory penalties applicable to an


                                                  2
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 3 of 9 PageID #: 174




individual adjudicated guilty of the felony charge contained in Count Two of the Indictment, the

impact of the sentencing guidelines on sentencing in general, and inquired of Defendant as to his

competency to proceed with the plea hearing. From said review the undersigned Magistrate Judge

determined Defendant understood the nature of the charges pending against him and understood the

possible statutory maximum sentence which could be imposed upon his conviction or adjudication

of guilty on Count Two was imprisonment for a term of not more than twenty (20) years; understood

that a fine of not more than $1,000,000.00 could be imposed; understood that both fine and

imprisonment could be imposed; understood he would be subject to a period of at least three (3)

years of supervised release; and understood the Court would impose a special mandatory assessment

of $100.00 for the felony conviction payable on or before the date of sentencing. Defendant also

understood that his sentence could be increased if he had a prior firearm offense, violent felony

conviction, or prior drug conviction. He also understood he might be required by the Court to pay

the costs of his incarceration and supervised release.

       The undersigned also reviewed with Defendant his waiver of appellate rights as follows:

Ct.    Do you understand that you have a right to appeal your conviction and sentence to the Fourth

       Circuit Court of Appeals under 18 U.S.C. § 3742?

Def.   Yes.

Ct.    Do you understand that you may, under certain circumstances, file a writ of habeas corpus

       type motion–that’s what it’s commonly called–a motion under 28 U.S.C. § 2255 collaterally

       challenging the sentence and how that sentence is being carried out?

Def.   Yes.




                                                 3
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 4 of 9 PageID #: 175




Ct.    Did you understand from your discussion with Ms. Orteza that any appeal that you file to the

       Fourth Circuit must be filed within 14 days of sentencing by District Judge Keeley?

Def.   Yes.

Ct.    Under your agreement, and I’m now referring to paragraph 12 of your written plea

       agreement, do you completely understand that if the District Judge imposes an actual

       sentence against you that is consistent with a Guidelines sentence which has a base offense

       level of 24 or lower, then you are giving up your right to appeal that actual sentence?

Def.   Yes.

Ct.    Do you understand that under your agreement, 12(b), you are also giving up your right to

       challenge the conviction or the sentence or the manner in which it was determined in any

       post-conviction proceeding, and that includes but isn’t limited to 28 U.S.C. § 2255–that

       includes § 2255 in sheep’s clothing under § 2241, or any of the other habeas motions–you’re

       giving it up under the conditions set forth in paragraph 12, do you completely understand

       that?

Def.   Yes.

Ct.    Now, the only thing you’re reserving in your right to collaterally attack by using a habeas

       motion is if, after today, you find out there was some sort of prosecutorial misconduct or

       ineffective assistance of your counsel. Do you understand that?

Def.   Yes.

Ct.    As you sit here today, do you know of any prosecutorial misconduct?

Def.   No.

Ct.    As you sit here today, do you know of any ineffective assistance of counsel?


                                                4
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 5 of 9 PageID #: 176



Def.   No.

Ct.    Did you intend to give up your rights of appeal and right to collateral challenge as set forth

       in paragraph 12 of your written plea agreement?

Def.   Yes.

Ct.    Has anything about your understanding of that paragraph, including its subparts, changed

       since you signed the agreement and today?

Def.   No.

Ct.    Did you and Ms. Orteza fully discuss those rights and your waiver of those rights under

       paragraph 12(a) and (b)?

Def.   Yes.

Ct.    Was that discussion consistent with what I described to you earlier?

Def.   Yes.

       From the foregoing colloquy the undersigned determined that Defendant understood his

appellate rights and knowingly gave up those rights pursuant to the conditions contained in the

written plea agreement.

       The undersigned Magistrate Judge further examined Defendant relative to his knowledgeable

and voluntary execution of the written plea bargain agreement, and determined the entry into said

written plea bargain agreement was both knowledgeable and voluntary on the part of Defendant. The

undersigned then inquired of Defendant regarding his understanding of the written plea agreement.

Defendant stated he understood the terms of the written plea agreement and also stated that it

contained the whole of his agreement with the Government and no promises or representations were

made to him by the Government other than those terms contained in the written plea agreement.



                                                 5
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 6 of 9 PageID #: 177


       The undersigned Magistrate Judge further inquired of Defendant, his counsel, and the

Government as to the non-binding recommendations and stipulation contained in the written plea

bargain agreement and determined that Defendant understood, with respect to the plea bargain

agreement and to Defendant’s entry of a plea of guilty to the felony charge contained in Count Two

of the Indictment, the undersigned Magistrate Judge would write the subject Report and

Recommendation and would further order a pre-sentence investigation report be prepared by the

probation officer attending the District Court. The undersigned advised the Defendant that the

District Judge would adjudicate the Defendant guilty of the felony charged under Count Two of the

Indictment. Only after the District Court had an opportunity to review the pre-sentence investigation

report, would the District Court make a determination as to whether to accept or reject any

recommendation or stipulation contained within the plea agreement or pre-sentence report. The

undersigned reiterated to the Defendant that the District Judge may not agree with the

recommendations or stipulation contained in the written agreement. The undersigned Magistrate

Judge further advised Defendant, in accord with Federal Rule of Criminal Procedure 11, that in the

event the District Court Judge refused to follow the non-binding recommendations or stipulation

contained in the written plea agreement and/or sentenced him to a sentence which was different from

that which he expected, he would not be permitted to withdraw his guilty plea. Defendant and his

counsel each acknowledged their understanding and Defendant maintained his desire to have his plea

of guilty accepted.

       Defendant also understood that his actual sentence could not be calculated until after a pre-

sentence report was prepared and a sentencing hearing conducted. The undersigned also advised,

and Defendant stated that he understood, that the Sentencing Guidelines are no longer mandatory,

and that, even if the District Judge did not follow the Sentencing Guidelines or sentenced him to a


                                                 6
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 7 of 9 PageID #: 178




higher sentence than he expected, he would not have a right to withdraw his guilty plea. Defendant

further stated his attorney showed him how the advisory guideline chart worked but did not promise

him any specific sentence at the time of sentencing. Defendant stated that he understood his attorney

could not predict or promise him what actual sentence he would receive from the sentencing judge

at the sentencing hearing. Defendant further understood there was no parole in the federal system,

although he may be able to earn institutional good time, and that good time was not controlled by

the Court, but by the Federal Bureau of Prisons.

       Defendant also agreed to the administrative forfeiture of the $15,528.00 seized on September

18, 2014. He waived the right to notice regarding the forfeiture and agreed that neither he nor

anyone acting for him shall appear in or pursue any action to contest the forfeiture.

       The Court heard the testimony of Sergeant Todd Forbes of the Monongalia County Sheriff’s

Department. Sergeant Forbes is currently assigned to the Mon Valley Drug and Violent Crimes Task

Force. He and other Task Force officers were involved in a months-long investigation of individuals

from the Detroit, Michigan, area, who were involved in the distribution of oxycodone in the

Morgantown, West Virginia, area. During that investigation, officers learned that these individuals

used two (2) residences in Morgantown for the distribution of oxycodone. Subsequently, a State

search warrant was authorized for the residence on Dille Street, in Morgantown, within the Northern

District of West Virginia. On the morning of September 18, 2014, officers conducted extensive

surveillance of that residence and effected traffic stops of any individuals who left the residence.

They also observed several hand-to-hand transactions at that residence. Later that day, officers

executed the search warrant. In the residence, they located several thousand dollars, at least 670




                                                   7
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 8 of 9 PageID #: 179




oxycodone pills, and two (2) firearms. The quantity of oxycodone was a distribution-level quantity.

Officers also located Defendant and co-defendant Cary Dailey in the residence.

       Defendant stated he heard, understood, and did not disagree with Sergeant Forbes’ testimony.

 The undersigned United States Magistrate Judge concludes the offense charged in Count Two of

the Indictment are supported by an independent basis in fact concerning each of the essential

elements of such offense. That independent basis is provided by Sergeant Forbes’ testimony.

       Thereupon, Defendant, Caraun Lynn Montez Key, with the consent of his counsel, Ailynn

Orteza, proceeded to enter a verbal plea of GUILTY to the felony charge in Count Two of the

Indictment.

       Upon consideration of all of the above, the undersigned Magistrate Judge finds that

Defendant is fully competent and capable of entering an informed plea; Defendant is aware of and

understood his right to have an Article III Judge hear and accept his plea and elected to voluntarily

consent to the undersigned United States Magistrate Judge hearing his plea; Defendant understood

the charges against him, not only as to the Indictment as a whole, but in particular as to Count Two

of the Indictment; Defendant understood the consequences of his plea of guilty, in particular the

maximum statutory penalty to which he would be exposed for Count Two; Defendant made a

knowing and voluntary plea of guilty to Count Two of the Indictment; and Defendant’s plea is

independently supported by Sergeant Forbes’ testimony which provides, beyond a reasonable doubt,

proof of each of the essential elements of the charges to which Defendant has pled guilty.

       The undersigned Magistrate Judge therefore recommends Defendant’s plea of guilty to Count

Two of the Indictment herein be accepted conditioned upon the Court’s receipt and review of this

Report and Recommendation.


                                                 8
Case 1:14-cr-00078-IMK-JSK Document 98 Filed 01/21/15 Page 9 of 9 PageID #: 180




       The undersigned further directs that a pre-sentence investigation report be prepared by the

adult probation officer assigned to this case.

       Defendant is remanded to the custody of the United States Marshal Service pending further

proceedings in this matter.

       Any party may, within fourteen (14) days after being served with a copy of this Report and

Recommendation, file with the Clerk of the Court written objections identifying the portions of the

Report and Recommendation to which objection is made, and the basis for such objection. A copy

of such objections should also be submitted to the Honorable Irene M. Keeley, United States District

Judge. Failure to timely file objections to the Report and Recommendation set forth above will

result in waiver of the right to appeal from a judgment of this Court based upon such report and

recommendation. 28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984),

cert. denied, 467 U.S. 1208 (1984); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn,

474 U.S. 140 (1985).

       The Clerk of the Court is directed to send a copy of this Report and Recommendation to

counsel of record.

       Respectfully submitted this 21st day of January, 2015.

                                                     John S. Kaull
                                                     JOHN S. KAULL
                                                     UNITED STATES MAGISTRATE JUDGE




                                                 9
